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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANTA

UNITED STATES OF AMERTCA
Plaintiff

Vv. Criminal Action No. 17-390-1
District Court No. 5:17-cr-00390-001

EDWIN PAWLOWSKI

 

Defendant
MOTION TO AMEND JUDGEMENT AND COMMITMENT
Come now, Edwin Pawlowski, Defendant, Pra Se, toe respectfully move this humble court to

alter or amend judgement and commitment of restitution pursuant to 18 U.S.C.S. 3663
(A)(b)(i)(1), 18 U.S.C.S. §3664(e), 18 U.S.C.S. § 3579(b)(1)(B) and 18 U.S.C.S. § 3231.
For the reasons stated below, the court should reduce the amount of the defendant's

restitution,
Ip support thereof, the defendant states as follows:

1. The Defense submitted objections to the calculations of loss by the United States
Probation Office on Jume 22, 2018, stating the inappropriateness of a 16 level
enhancement in sentencing under U.S.S.G § 2C1.1(b)(2) and probation's calculation loss
of $2,194,704.

2. On October 26. 2018, the court adopted a stipulated loss figure of $107,349 for

sentencing purposes under U.S.S.G. § 2C1.1.

3. The Government obiected to Probation's loss calculations regarding a city pool
renovation contract, in that it could not meet the burden of proof for a $1.6 million
dollar loss siting United States v, Lianidas,599 F 3d 273,278 (3rd Cir. 2010).

 

4. The court imposed a restitution figure of $93,749 of which the following amounts

were to be dispersed: $35,000 to the City of Allentown for the Ciiber Virus Contract,

 

 
 

 

 

 

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$31,000 to Linebarger-Goglin Law Firm, $18,749 to Johnson Controls, P00 to MKSD
Architects, $2,900 to the Protonoff Law Firm and $2,000 to Integrated Aquatic

4. No evidence of net value or benefits received in support of these monetary amounts
was presented to the court or articulated by the prosecution regarding the imposed

restitution amount. USA v. Vitilic, 490 F. 3d 314, 370 (3rd Cir. 2007).

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5, In United States v. Lianids, the Third Circvit, observing that the burden is upon

 

the government to show benefit received, held that direct costs, but rot indirect
costs, should be deducted when calculating net value. As previously stated, in
calculating the Defendant's restitution amount, the Government provided no avidence to
the court of benefit received by these previously mention vendors or their direct

casts.

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6. In USA v. Quillian, 335 F. 3d 219, 2003 U.S. App. No. 92-3059 (3rd Cir. 2003) it
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tates, "The U.S Court of Apoeals for the Third Circuit has interoreted 18 U.S.C.S,
3663(A)(b)(1) not to authorize consequential damages. Instead, restitution must be

limited to an amount pegged to the actual losses suffered by the victims of the

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defendant's criminal conduct. and based upon losses directly resulting from said

conduct ."'

7, The Third Circuit affirmed in USA v, Logan, 975 F. 2d 958 (3rd Cir. 1992) that, the
district court is required to make specific findings as to the factual issues that are
relevant to the application of the restitution provisions of the Victim and Witness
Protection Act, 18 U.S.C.S. §§ 3579-3580. Thus, factual findings are required
concerning (1) the amount of less sustained by the victims, (2) the defendant's ability
to make restitution, and (3) how the amount of restitution imposed relates to any loss

caused by the conduct underlying the offenses fer which defendant remains convicted.

&, In relation to the Ciiber Contract, there is no evidence in the record of any net
value or benefit received by the contractor. The contract with the city was never
executed due to a non-response for insurance by the contractor. Thus there was no loss
or direct harm to the contractor (who was never called ta testify by the government) or
the city since the contract was never executed, Restitution is proper only for losses
directly resulting from the defendant's offense, USA v. Tyler, 767 F 2d 1350 (9th Cir.
1985) siting United States v. Burger, 739 F. 2d 805, 811 (2nd Cir, 1984). In the case

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of the Cliber trat, NO loss, except that tangentially linked was suffered by the
victims or ca toulaticn of loss presented to the court,USA v. Kanes, 77 F. 3d 64, 70
(3rd Cir. 1996). Thus the amount of $35,900 should be removed from the restitution
calculation in accordance with 18 U.S.C.S. 3663(4)(b)(1) and the Third Circuit ruling

in Kanes.

9, The restitution amount of $2,090 to the Portonoff law firm was inappropriately

applied since the the principle of the firm Michele Portonoff testified in court that
contribution was made besed on the positive work of the Defendant (Trial Transcript

Jen. 25, 2018, Pages 158 (9-23) and the Nefendant was. found not guilty of this charge
by the jury. Thus the amount of $2,000 should be removed from the restitution amoun’

and amended in the judgement.

Conclusion

49. The Third Circuit Court of Appeals has well established case law regarding the the
calculation and imposition of restitution.

11. The defendant, Mr. Pawlowski, respectfully urges this court to re-examine the terms
of restitution and reevaluate the amounts of restitution outlined in the court's final
judgement to coincide with the United States Code and Third Circuit case law.

Prayer for Relief

Wherefore premises are ccnsidered, Mr. Edwin Pawlowski prav's that the forgoing relief

sought is hereby granted respectively:

A. Assume subject. jurisdiction and amend amounts in the judgement of restitution under
18 U.S.6.S. § 3663 (A)(b)(1) ard 18 U.S.C.S. § 3664 (e),

RB, Order the restitution amount and ‘udgement to be reduced by $37,000 ($2,000
Protonoff Law Firm and $35,000 Ciiber).

C. Order the release of Mc. Pawlowski's seized pension funds in the amount of $37,000.

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fully Submitted,
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Declaration

I hereby declare under the penalty of perjury that the above facts are true and

correct to the best of my Imowledee. 28 U.S.C, § 1746.

nate: 7(a of 2\ Signature: ete i

Certificate of Service

 

T hereby certify on this@pH, day of Geplas— 2021, copies of the foregoing was

mailed to. the following:
Anthony Wzorek, AUSA

Office of the U.S. Attorney

615 Chestnut Street, Suite 1250
Poilecciphia, PA 19106
Respectfully Submitted,

PACA ,

Edvin Pawlowski. ProSe
 

 

 

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United States

 

                 

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Clerk of Courts (FOREVER / USA. FOREVER / US §

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